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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              ATHENS DIVISION

UNITED STATES OF AMERICA                           :
                                                   :
       v.                                          :
                                                   :      No. 3:21-CR-51-CAR-CHW-1
DAMION RASHUN MOSLEY,                              :
                                                   :
       Defendant.                                  :
                                                   :

            ORDER ON UNOPPOSED MOTION TO CONTINUE TRIAL

       Before the Court is Defendant Damion Rashun Mosley’s Unopposed Motion to

Continue [Doc. 31] the pretrial hearing set for July 21, 2022, and the trial of this case which

is set to begin on August 8, 2022, in Athens, Georgia. On December 14, 2021, the Grand

Jury returned a two-count indictment charging Defendant with illegal possession of a

machine gun and possession of a firearm by a convicted felon. On January 13, 2022,

Defendant was appointed counsel, pled not guilty at his arraignment, and was ordered

detained pending trial. This case has once been previously continued, and the

Government does not oppose Defendant’s current request.

       In the Motion, defense counsel represents that additional time is needed to

investigate the case and negotiate a potential plea agreement with the Government.

Having considered the matter, the Court finds it serves the ends of justice to grant the

parties adequate time to address these matters. The ends of justice served by granting a

continuance outweigh the interests of Defendant and the public in a speedy trial. Failure
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to grant a continuance would deny counsel reasonable time for effective preparation and

could result in a miscarriage of justice. Thus, Defendant’s Unopposed Motion to Continue

Trial [Doc. 31] is GRANTED, and IT IS HEREBY ORDERED that this case be continued

until October 24, 2022, the next term of Court for the Athens Division. The delay

occasioned by this continuance shall be deemed excludable pursuant to the provisions of

the Speedy Trial Act, 18 U.S.C. § 3161.

      SO ORDERED, this 8th day of July, 2022.

                                          S/ C. Ashley Royal          ___
                                          C. ASHLEY ROYAL, SENIOR JUDGE
                                          UNITED STATES DISTRICT COURT




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